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                                                              Exhibit D
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  1. PREA-GBTI COMMITTEE

     1.1. Purpose. The SBSD will operate a PREA-GBTI Committee (“the Committee”) whose
          purpose is to discuss the housing assignment, programming options, educational options,
          and employment options for inmates who self-identify as a GBTI inmate.

     1.2. Frequency. The Committee shall meet two times per month, subject to modification as
          needed. The default Committee schedule shall call for two regularly-scheduled meetings
          per month. At each meeting, the Committee shall conduct a review of the available
          housing, programming, education, and employment for all eligible inmates as defined in
          Section 1.4.

     1.3. Committee Members. The Committee shall consist of seven representatives at each
          meeting, subject to excused absences.

         1.3.1. Facility commander or designee;
         1.3.2. Representative from Centralized Classification Unit / Population Management
              Unit;
         1.3.3. Medical supervisor or designee;
         1.3.4. Mental health supervisor or designee;
         1.3.5. Representative from Inmate Services Unit (Programs/Education);
         1.3.6. PREA/GBTI compliance manager; and
         1.3.7. County-employed social worker with knowledge of issues impacting the GBTI
              community, who shall act as a GBTI advocate.

     1.4. Inmates Subject To Review. At each meeting, the Committee shall review the housing,
          programming, education, and employment for the following eligible inmates:

         1.4.1. All inmates who have been booked into the SBSD jails since the preceding
              Committee meeting and who have self-identified as GBTI.
         1.4.2. All self-identified GBTI inmates who have been sentenced since the preceding
              Committee meeting.
         1.4.3. If an inmate who would otherwise qualify as eligible under Section 1.4.1 opted to
              be housed outside of the designated GBTI housing location upon initial booking, the
              inmate has the option of requesting a review from the Committee and shall be so
              informed. Absent such a request, the Committee shall not conduct a review of a
              self-identified GBTI inmate who chose to be housed outside of the designated GBTI
              housing upon booking.

     1.5. Committee Functions. At each meeting, the Committee shall perform the following
          functions:
         1.5.1. The Committee will meet with all eligible-inmates as defined by Section 1.4.
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         1.5.2. The Committee will review the initial classification and intake forms for
              accuracy.
         1.5.3. The Committee will ensure that GBTI inmates understand that housing in the
              GBTI unit is one of many housing options and that SBSD is committed to ensuring
              their safety throughout the facility, regardless of whether they opt to be housed in
              the GBTI unit or general population. SBSD shall take steps discussed with
              Plaintiffs’ counsel to improve safety throughout the facility, including in general
              population and during transport, so GBTI inmates are safe in general population and
              any other housing or location. Potential changes could include housing GBTI
              individuals in general population cells closest to front the front of units where most
              accessible and visible to deputies and custodial assistants, managing blind spots,
              increased cameras and other steps that effectively counter risk of assault.
         1.5.4. The Committee will ensure that GBTI inmates are fully informed of their housing
              options, available programming, and work assignments.
         1.5.5. The Committee will formally discuss, evaluate, and make decisions on inmate
              housing assignments. The Committee will take into consideration any specific
              request from the GBTI inmate to ensure they feel safe and fully understand the
              consequences of a specific housing location. The inmate request will not be
              dispositive but will be given serious weight.
         1.5.6. The Committee will identify the most appropriate housing location for
              transgender and intersex inmates. The housing assessment will be individualized
              and gender identity will be taken into consideration. Housing based upon and
              consistent with gender identity will be discussed and evaluated as a housing option.
         1.5.7. The Committee will also discuss and manage issues of searches, shower privacy,
              transition-related care as discussed in Section 7. The parties will work together to
              create a form that will capture information about the person’s gender identity,
              appropriate name and pronoun, preferences as to the gender of the person(s) who
              search them, housing preferences, and cellmate preferences, if any.
         1.5.8. The Committee will evaluate and make decisions for GBTI inmates specifically
              related to work assignments (if applicable) and available program/education
              opportunities.
         1.5.9. The Committee will identify, evaluate, and monitor any ongoing mental health or
              medical care issues or concerns.
         1.5.10. The Committee will endeavor to come to a consensus but the Facility Commander
              will have ultimate decision-making authority. The Committee will maintain notes of
              these meetings. The Committee will document any disagreements over the
              housing/programming plan, and document any rationale for housing a GBTI inmate
              in housing different than their preferred choice. The inmate will be informed of the
              Committee’s decisions and disagreements in a manner that allows the inmate to
              grieve the Committee’s decision.
         1.5.11. The Committee will review GBTI grievances that deal with housing, programs,
              work assignments or other confinement issues. The Committee shall not review any
              grievance that alleges misconduct on behalf of staff. Those grievances shall
              continue to be investigated and reviewed by the commander or designee.
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  2. HOUSING & CLASSIFICATION ISSUES

     2.1. Renaming Unit. The housing location at West Valley Detention Center currently known
          as the Alternative Lifestyle Tank (“ALT”) shall be renamed the GBTI unit.

     2.2. Range of Housing Options. Inmates who self-identify as GBTI shall have the following
          housing options:

         2.2.1. General population, based on classification score;
         2.2.2. GBTI Unit at WVDC, based on classification score;
         2.2.3. For transgender and intersex inmates, housing based upon and consistent with
              gender identity, if approved by the PREA-GBTI Committee (for the period of time
              commencing with the meeting specified in Section 1.4.1 of this Agreement) or the
              Centralized Classification Unit (CCU) (for the period of time prior to the meeting
              specified in Section 1.4.1 of this Agreement).
         2.2.4. Protective Custody housing, if the inmate needs protection from other inmates
              based on protective custody protocol and for reasons other than their sexual
              orientation or gender identity.

     2.3. Factors to Consider. The following factors shall be considered in determining the
          housing assignment of a GBTI inmate:

         2.3.1. Individual determination of safety with the jail, unit or segment;
         2.3.2. Taking into consideration the inmates own view of safety and a housing location,
              which will be given serious weight;
         2.3.3. The location that maximizes access to program, work or other activities;
         2.3.4. GBTI inmates will not be automatically assigned to the GBTI unit, protective
              custody or restrictive housing;
         2.3.5. The PREA/GBTI committee will review and approve housing locations; and,
         2.3.6. The SBSD reserves the right to relocate any inmate(s) based on construction,
              inmate population needs, changes in classification, medical/mental health concerns,
              etc. In other words, SBSD does not guarantee that all GBTI inmates will be housed
              in one specific location (e.g. Unit One). They could be moved to other units as
              necessary. There will remain a GBTI unit unless this agreement is modified.

  3. INMATE WORKER OPTIONS

     3.1. Eligibility. Nothing in this proposal shall alter the standard requirements for inmate
          worker-eligibility. This agreement shall only impact inmates who self-identify as GBTI
          and whose housing location in the GBTI unit may have been the sole basis for making
          them ineligible for employment.
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     3.2. GBTI Inmates in Standard General Population. GBTI inmates who are housed in
          standard general population housing shall be eligible for jobs without regard to their
          GBTI status.

     3.3. Inmates in the GBTI Unit. Inmates housed in the GBTI Unit at WVDC who are
          otherwise-eligible for and selected for an assignment can become inmate workers in one
          of two ways:

         3.3.1. An inmate in the GBTI Unit who has requested an inmate job can remain living in
              the GBTI Unit while on a wait list and then transfer to a work-based housing
              assignment once selected for an inmate job. Alternatively, an inmate in the GBTI
              Unit who is work-eligible can choose to remain the GBTI Unit and opt to be
              matched with an inmate job that has been approved for inmates in the GBTI Unit.
         3.3.2. Pursuant to Policy 13.170, inmate workers are housed in inmate worker units.
              Staff will ensure that the GBTI inmate understands the following. The request must
              come from the inmate. There is no actual guarantee of a specific job, as there are
              very few jobs available based on the inmate population. GBTI inmates will have to
              wait for a job opening just like non-GBTI inmates. The Committee will inform
              inmates who are eligible to work of the jobs available and the current wait list and
              location of those jobs. The wait list is determined in chronological order of an
              inmate’s application to the wait list when work eligible. The length of the wait list
              shall be shared with the inmates, and there will be different wait lists for different
              jobs so that there is an informed choice as to whether to go on one with a long wait
              list.
         3.3.3. The SBSD will ensure that a minimum of three jobs for inmates who elect to
              remain in the GBTI unit can be accommodated at a given time. In addition to the
              law library position, the SBSD will identify and select two additional jobs that can
              be provided to eligible inmates from the GBTI Unit. Should a situation arise where
              more than three GBTI unit inmates need a job at the same time, the SBSD will in
              good faith attempt to identify and fill the additional jobs.
         3.3.4. All inmate workers must adhere to facility guidelines for job assignments. The
              PREA-GBTI Committee will coordinate and ensure that GBTI inmates are afforded
              every opportunity and equal access to a work assignment with the understanding
              that no inmate is guaranteed a job.
         3.3.5. GBTI inmates will have the same opportunities to have volunteer positions as
              other general population inmates at WVDC.

     3.4. Job Postings. In addition to the information provided to GBTI inmates during their
          meetings with the PREA-GBTI Committee, the SBSD shall post information about
          inmate jobs.

     3.5. Credits. Any sentencing credits will be rewarded without regard to sexual orientation,
          gender identity, or housing placement in the GBTI Unit.
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     3.6. Work and HIV Status. The SBSD policies do not discriminate based on HIV status.
          Therefore, HIV status does not disqualify an otherwise-eligible inmate from working.

  4. PROGRAMMING

     4.1. In-Person. If an in-person program is offered to inmates at Glen Helen or general
          population at WVDC, then that program will be offered in the GBTI Unit or a suitable
          classroom at WVDC. Courses offered at WVDC will use the same eligibility, pre-
          requisites, and scheduling rationale used at GHRC. Courses offered at WVDC will use
          the same eligibility, pre-requisites, and scheduling rationale used at GHRC.

     4.2. Remote Access. If a program is offered via remote access (such as online, journalist, or
          tablets) to inmates at Glen Helen or other general population units at WVDC, the
          inmates in the GBTI Unit at WVDC will also be eligible to participate in the program
          via remote access.

     4.3. Religious Providers. The SBSD will work with Plaintiffs in an effort to find security-
          eligible religious providers who are willing to provide religious services in the GBTI
          Unit and will provide chaplains and group religious services in the same manner they do
          for other general population units at WVDC, including possible services in spaces
          outside of the day room.

     4.4. Credits. Any sentencing credits for programming, including drug rehabilitation or any
          other program for which credit is given by the Court or SBCJ will be rewarded without
          regard to sexual orientation, gender identity, or placement in the GBTI Unit.

     4.5. Programming and HIV Status. The SBSD policies do not discriminate based on HIV
          status. Therefore, HIV status does not disqualify an otherwise-eligible inmate from
          programming.

  5. GBTI UNIT TIER TIME

     5.1. Two Segments. Provided that a minimum of 20 inmates opt to be housed in the GBTI
          Unit, then the GBTI Unit will be divided into two segments.

     5.2. GP-3 to GP-5. One segment of the GBTI Unit shall consist of inmates with
          classifications of GP-3, GP-4, and GP-5. Inmates in this segment shall receive half tier
          time. If in the future general population inmates with classifications of GB-3, GP-4, and
          GP-5 start receiving more than half tier time, then similar increases will be applied to the
          GBTI Unit with GP-3, GP-4, and GP-5 inmates.

     5.3. GP-6 to GP-7. One segment of the GBTI Unit shall consist of inmates with
          classifications of GP-6 and GP-7. Inmates in this segment shall receive full tier time.
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     5.4. Contingency for Single Segment. Should the population of the GBTI Unit fall below 20
          inmates, the SBSD reserves the right to consolidate the GBTI Unit into a single segment.
          If the GBTI Unit is consolidated into a single segment under this provision, the Watch
          Commander or his/her designee can decide to give less tier time based on security
          considerations and the classification scores of the inmates in the GBTI Unit but no less
          than half tier time. The Watch Commander or his/her designee can also decide to keep
          tier time at the same level in their discretion. The decision will be documented.

     5.5. Exceptions. Any exception to the default tier time designated in Sections 5.2, 5.3, and
          5.4 must be approved by the Watch Commander and must be documented in the shift
          log.

     5.6. Recreation Time. All inmates in the GBTI Unit shall receive outside recreation time as
          required by Title 15.

  6. TRAINING

     6.1. Staff Training. The SBSD will provide comprehensive training for staff, contractors,
          and volunteers who have contact with inmates on GBTI and PREA issues prior to the
          assignment of the staff, contractor, or volunteer to any position involving contact with
          inmates.

     6.2. Training Topics. The mandatory training shall cover the following topics at minimum:

         6.2.1. The Prison Rape Elimination Act;
         6.2.2. The department’s zero tolerance policy regarding sexual abuse and sexual
              harassment;
         6.2.3. Common reactions of sexual abuse and sexual harassment victims;
         6.2.4. Detection and response to signs of sexual abuse;
         6.2.5. Inmates right to be free from sexual abuse and sexual harassment;
         6.2.6. Inmates and staff members right to be free from retaliation when reporting sexual
              abuse or sexual harassment incidents;
         6.2.7. How to effectively and professionally communicate with inmates including
              lesbian, gay, bisexual, transgender, intersex or gender non-conforming inmates
              (LBGTI);
         6.2.8. How to comply with all relevant laws related to mandatory reporting of sexual
              abuse to outside authorities;
         6.2.9. Impact of discrimination against LBGTI inmates; and
         6.2.10. Classification, housing, programming, education, work opportunities and
              integration of LBGTI inmates in the prison setting.

     6.3. Refresher Training. All staff, contractors, and volunteers shall receive refresher training
          on the issues described in Sections 6.1 and 6.2 at least once every two years.
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     6.4. Training Records. Initial and refresher training shall be documented using the
          Acknowledgment of PREA training form. Training compliance records will be
          computerized.

     6.5. Educating Inmates. Materials designed to educate inmates on GBTI and PREA issues
          shall be made available to all inmates in the jail system. The materials shall identify the
          SBSD’s zero tolerance policy regarding sexual harassment and how to report incidents
          or suspicion of sexual abuse or sexual harassment. Inmates shall receive this
          information during the intake process. Information will be posted in housing areas and
          readily visible to inmates. Plaintiffs’ counsel will endeavor to work with experts to
          obtain quality videos and materials to be used for inmate education, which will be
          provided to the SBSD. Absent an articulable objection from the SBSD to the materials
          provided by Plaintiffs’ counsel, the SBSD will provide these materials to the inmates
          during orientation and make these materials available for viewing by all inmates at other
          appropriate times.

  7. TRANSGENDER ISSUES

     7.1. Orientation. It is understood that the appropriate correctional approach to the housing
          and protection of transgender inmates is a relatively new and rapidly developing area of
          both correctional practices and the law. San Bernardino County Sheriff’s Department is
          committed to an ongoing assessment of the special needs and best correctional practices
          for transgender inmates, and to developing appropriate policies to address those issues.

     7.2. Housing. Transgender women and intersex people assigned to men’s facilities shall be
          housed based upon the recommendation of the PREA-GBTI Committee, considering the
          range of housing options in Section 2.2 and the factors in Section 2.3. Plaintiffs and
          SBSD will discuss, in developing this policy, whether the same range of housing options
          and process should be made available to transgender men, whether assigned to men’s or
          women’s facilities.

     7.3. Searches. Transgender and intersex inmates shall advise the PREA-GBTI Committee of
          the preferred gender for deputies who will perform searches of the inmates. The SBSD
          shall honor the inmates’ request subject to certain narrow exceptions that shall be
          identified in a written policy. Plaintiffs will work with SBSD to devise a specific
          question or gender preference search form.

     7.4. Shower Privacy. Transgender and intersex inmates will have the opportunity to shower,
          perform bodily functions, and change clothes in private, away from the view of other
          inmates and cross-gender, non-medical staff (staff with a gender different than the
          gender the inmate identifies as). This may be accomplished through housing and
          classification, shower curtains, privacy screens, or other methods.
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     7.5. Medical Issues. Correctional Health Services staff including Qualified Mental Health
          Professionals shall assess, diagnose, and establish a documented individual treatment
          plan for inmates including, but not limited to, those inmates identified with DSM
          diagnosis Gender Dysphoria. Qualified Mental Health Professional Providers shall order
          treatment as clinically indicated including, but not limited to, gap hormone medication.
     7.6. Transport. Transgender inmates will not be cuffed, tied or otherwise placed in immediate
          proximity to inmates of a different gender identity during transport, including but not
          limited to bus transport to and from court. Transgender inmates who so request will be
          transported, if feasible, in individual protective ‘cages,’ or, where that is not feasible,
          will be accorded special protections to ensure that they are not harmed by other inmates
          during transport.

  8. GENERAL PREA ISSUES

     8.1. Zero Tolerance Policy for Harassment.
         8.1.1. SBSD policy and employee bulletins will clearly prohibit harassment and
              discrimination against GBTI inmates or those perceived to be GBTI. This policy
              will have zero tolerance for anti-LGBTIQ statements in SBSD facilities. Deputies
              shall be subject to discipline for committing harassment and discrimination,
              including name calling.
         8.1.2. SBCSD will have a zero tolerance policy regarding the intentional misgendering
              of transgender and intersex inmates by staff. All staff will use the name and
              pronouns specified by the transgender or intersex inmate. Consistent use of the
              incorrect name and pronoun will be considered and handled as sexual harassment.
              Nothing in this section shall prohibit medical staff from complying with regulations
              or laws governing the dispensing of pharmaceuticals and the use of an inmate’s
              legal name.

     8.2. PREA Pre-Audit. Within six months of the Court’s final approval of the settlement, the
          SBSD agrees to conduct a PREA pre-audit at West Valley Detention Center using a
          trained PREA auditor, based on a list of approved auditors provided by the United States
          Department of Justice. Following the pre-audit, the SBSD will meet and confer with
          Plaintiffs’ counsel regarding the findings, and what actions taken by SBSD based on the
          findings. The SBSD shall conduct an assessment addressing the issues identified in the
          PREA pre-audit after the meet and confer and will inform Plaintiffs’ counsel of actions
          taken in response to the pre-audit and the meet and confer. Nothing in this agreement
          shall impose an affirmative obligation on the SBSD to comply with the
          recommendations of the PREA pre-audit. Nothing in this agreement shall require the
          SBSD to allow the auditor to review or access materials protected under California law
          by California Penal Code § 832.5 et. seq. or California Evidence Code § 1040 et. seq.
          The pre-audit will not be forwarded to the United States Department of Justice.
          However, nothing in this agreement shall limit Plaintiffs’ counsel’s ability to report any
          PREA violations that are not rectified by the SBSD in response to the pre-audit or any
          future violations of PREA.
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     8.3. Hotlines. The SBSD agrees to have working and anonymous PREA hotlines.

     8.4. Victim Counseling. Mental health counseling, by counselors trained in rape and
          sexual assault consistent with PREA regulations 115.53 and 115.82-83, shall be
          available for all inmate victims of sexual assault.

     8.5. Not Relocating Victim. Following the reporting of a sexual assault in the jails, the
          general rule is that the victim of the assault shall not be moved to another housing
          location. Instead, the alleged perpetrator shall be moved to another housing location.
          Exceptions to this general rule shall exist. Victim inmates may be moved out of a
          housing segment for his/her own protection. Victim inmates shall be reassessed for a
          different housing assignment by the Central Classification Unit (CCU) and/or PREA-
          GBTI Committee.

     8.6. Screening. The SBSD shall continue PREA screening. The SBSD recognizes that not
          all GBTI inmates should be designated as PREA-vulnerable. The parties will jointly
          develop an appropriate screening mechanism that will be utilized by the PREA-GBTI
          Committee to facilitate appropriate housing, work and programming choices.

     8.7. Compliance Manager. All type II jail facilities that house GBTI or PREA-vulnerable
          inmates will have a PREA-GBTI compliance manager. The compliance manager shall
          be responsible for the facility’s efforts to comply with PREA-GBTI policies and
          procedures. The PREA-GBTI compliance manager shall be responsible for and ensure
          compliance with the Bureau Polices. The PREA-GBTI Compliance Manager shall also
          serve on the PREA-GBTI Committee.

     8.8. PREA Requirements. Nothing in this agreement shall otherwise alter any PREA
          requirements that may be applicable to SBSD.

  9. ENFORCING THE AGREEMENT

     9.1. Policies. The parties will negotiate the language of any SBSD policies that shall be
          necessary to implement this agreement.

     9.2. Production. For three years after the Court’s final approval of the agreement, the SBSD
          shall produce the following documents on an annual basis:
         9.2.1. A computerized spreadsheet that lists all initial and refresher training courses
               presented to staff, contractors and volunteers as well as a copy of each unique
               training. The spreadsheet will document the date of each course and compliance
               with section 6.2 (Training topics). The spreadsheet will certify that all required
               personnel are in compliance pursuant to this injunctive relief item.
         9.2.2. A computerized spreadsheet that lists the housing locations for all inmates who
               openly identify during classification as GBTI.
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         9.2.3. A computerized spreadsheet that lists all inmates housed in the GBTI segments.
              The spreadsheet shall include the inmates full name, booking number, classification
              rating, arrest date, sentencing date (if applicable), release date, and housing location.
         9.2.4. A computerized list of all educational, vocational, rehabilitation or other
              programming courses during the year provided to general population inmates.
         9.2.5. A computerized list of all inmates housed in the GBTI segments who requested
              and also who received educational or programming courses during the year. The list
              shall contain the type of educational or programming course, date, etc.
         9.2.6. Copies of the individual inmate PREA-GBTI Committee forms (includes housing
              options for each inmate).
         9.2.7. Computerized list of GBTI inmates who requested jobs and also a computerized
              list of GBTI inmates who are inmate workers and their job. This includes inmates
              housed in the GBTI segments and those who transferred to general population.
         9.2.8. Annual average of tier time afforded to inmates housing in the GBTI segments.
         9.2.9. Annual report that provides statistics on sexual assault and sexual harassment of
              inmates.
         9.2.10. Nothing in this section shall require the SBSD to provide materials protected
              under California law by California Penal Code § 832.5 et. seq. or California
              Evidence Code § 1040 et. seq.

     9.3. Meet and Confer. The parties will meet and confer before any party seeks judicial
          enforcement of the settlement agreement.

     9.4. Expense. All parties shall be responsible for their own costs and fees incurred after the
          Court’s final approval of the settlement; except that if the Court finds a material
          violation or issues a remedial order, Plaintiffs will be entitled to fees.
